Case 1:19-cv-00566-GPG Document 3 Filed 02/28/19 USDC Colorado Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 19-cv-00566-GPG
(The above civil action number must appear on all future papers
  sent to the court in this action. Failure to include this number
  may result in a delay in the consideration of your claims.)

BRUCE ALLEN DOUCETTE, by and through Julie Kaye Embry,

       Applicant,

v.

BARRY GOODRICH, Warden,

       Respondent.


                            ORDER TO CURE DEFICIENCIES


       Bruce Allen Doucette is incarcerated at the Crowley County Correctional Facility

in Olney Springs, Colorado. Julie Kaye Embry “in behalf of” Applicant has filed pro se

a Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241 and paid the filing fee

(ECF No. 1) 1. In the Petition, Ms. Embry alleges Applicant was denied the assistance

of counsel during his state court criminal proceeding. (ECF No. 1 at 6). Ms. Embry

asserts Applicant’s imprisonment “is illegal, unlawful and unconstitutional.” (Id. at 8).

There is no indication that Ms. Embry is an attorney admitted to practice in this District.

       Ms. Embry may not allege claims on behalf of Applicant because a pro se litigant

may not represent another pro se litigant in federal court. 28 U.S.C. § 1654 (a pro se

litigant may not represent another pro se litigant in federal court); see also Fymbo v.



1
  “(ECF No. 1)” is an example of the convention the court uses to identify the docket number
assigned to a specific paper by the court’s case management and electronic filing system
(CM/ECF). The court uses this convention throughout its orders.
Case 1:19-cv-00566-GPG Document 3 Filed 02/28/19 USDC Colorado Page 2 of 3




State Farm Fire & Cas. Co., 213 F.3d 1320, 1321 (10th Cir. 2000) ("A litigant may bring

his own claims to federal court without counsel, but not the claims of others.") (citing 28

U.S.C. § 1654). Applicant may only represent himself and must sign his own filings

individually as required by Rule 11 of the Federal Rules of Civil Procedure. Sieverding

v. Colorado Bar Ass'n., 237 F. App'x 355, 358 (10th Cir. 2007) (“Parties who file

lawsuits on a pro se basis must comply with the provisions of Rule 11.”); Green v.

Dorrell, 969 F.2d 915, 917 (10th Cir. 1992) (pro se litigants “must follow the same rules

of procedure that govern other litigants”).

       Thus, if Applicant wishes to pursue any claims on his own behalf, he must cure

the deficiencies identified below. Any papers filed in response to this order must be

labeled with the civil action number identified on this order.


Complaint, Petition or Application:
(11)        is not submitted
(12)  X     is not on proper form
(13)  X     is missing an original signature by the prisoner
(14)        is missing page nos.
(15)        uses et al. instead of listing all parties in caption
(16)        names in caption do not match names in text
(17)        addresses must be provided for all defendants/respondents in “Section A.
            Parties” of complaint, petition or habeas application
(18)  X     other: it appears that Applicant challenges the validity of his conviction,
            therefore he must file a § 2254 Application on the current Court-approved
            form, see McIntosh v. United States Parole Comm’n, 115 F.3d 809, 811
            (10th Cir. 1997) (“Petitions under § 2241 are used to attack the execution
            of a sentence, . . . [while] § 2254 habeas and § 2255 proceedings, . . . are
            used to collaterally attack the validity of a conviction and sentence.”).


Accordingly, it is

       ORDERED that Applicant cure the deficiencies designated above within thirty

(30) days from the date of this order if he wishes to pursue any claims on his own

                                              2
Case 1:19-cv-00566-GPG Document 3 Filed 02/28/19 USDC Colorado Page 3 of 3




behalf in this action. Any papers that Applicant files in response to this order must be

labeled with the civil action number identified on this order. It is

       FURTHER ORDERED that Applicant shall obtain and utilize the current court-

approved for Application for a Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2254,

along with the applicable instructions, at www.cod.uscourts.gov. It is

       FURTHER ORDERED that, if Applicant fails to cure all of the designated

deficiencies within thirty (30) days from the date of this order, the action will be

dismissed without further notice. The dismissal shall be without prejudice. It is

       FURTHER ORDERED that the Clerk of Court is directed to mail a copy of this

Order to Applicant at the address on the docket and to Ms. Embry, at her address noted

at ECF No. 1 at 8.

       DATED February 28, 2019, at Denver, Colorado.

                                                  BY THE COURT:

                                                   s/ Gordon P. Gallagher
                                                  United States Magistrate Judge




                                              3
